
Trammell,
dissenting: Even conceding that assets were acquired or paid in for bonds, in my opinion, it does not necessarily follow that the bonds were not issued at a discount. Clearly, if the owner of the property had agreed to take the bonds for the property at a discount we could not say that there was no discount and it would have been amortizable, but instead of agreeing specifically to receive the bonds at a discount, the question is, Did not what actually occurred amount to the same thing? In other words, were not the bonds actually taken at a discount ? I think so. What actually occurred, it seems, was that the bonds were issued and taken at less than their face value. I do not consider that it is important that *199property was received instead of cash. If the owner of the properties had said that they would give their property for the bonds at a discount of a certain per cent, the case would be clear. Instead of doing so, it was agreed to give bonds for property worth less, the same result as if cash less than the face of the bonds had been received. I see no reason why discount on bonds is limited to borrowed money. If a person had property to sell and agreed to take $9,500 cash for it or $10,000 par value of bonds to be issued and taken at 95, it seems to me that if the bonds were taken it could not be said that there was no discount on the bonds simply because property was acquired instead of cash borrowed. As said in the prevailing opinion, we should not let the word “ discount ” run away with us, but should consider the facts in the present case.
